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                               IN THE
                   UNITED STATES COURT OF APPEALS
                      FOR THE SEVENTH CIRCUIT

UNITED STATES OF AMERICA,                )   No. 23-3186
                                         )
      Plaintiff-Appellant,               )   Appeal from the United States
                                         )   District Court for the
            v.                           )   Northern District of Illinois,
                                         )   Eastern Division
DEVON FREEMAN,                           )   Case No. 23 CR 158
                                         )
      Defendant-Appellee.                )   Honorable Robert W. Gettleman

     GOVERNMENT’S UNOPPOSED MOTION TO STAY APPEAL

      The UNITED STATES OF AMERICA, by its attorney, MORRIS

PASQUAL, Acting United States Attorney for the Northern District of Illinois,

asks this Court for a stay of this appeal pending a decision in United States v.

Glen Prince, Appeal No. 23-3155.

      In both the instant appeal and Prince, the same district court employed

the same reasoning to reach the same conclusion: that 18 U.S.C. § 922(g)(1),

which prohibits felons from possessing firearms, is unconstitutional under the

Second Amendment in light of New York Rifle & Pistol Ass’n v. Bruen, 142

S. Ct. 2111 (2022). A decision in Prince almost certainly will resolve the instant

appeal in its entirety. As a result, by staying the instant appeal, this Court can

avoid expending judicial resources to address duplicative claims.
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     In support of this unopposed motion, the government incorporates the

attached affidavit of Assistant United States Attorney Georgia N. Alexakis.

                                   Respectfully submitted,

                                   MORRIS PASQUAL
                                   Acting United States Attorney

                             By:   /s/ Georgia N. Alexakis
                                   GEORGIA N. ALEXAKIS
                                   Assistant United States Attorney
                                   219 South Dearborn Street
                                   Chicago, Illinois 60604
                                   (312) 353-5300




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United States of America        )
                                )
Northern District of Illinois   )

                                    AFFIDAVIT

      Georgia N. Alexakis, Assistant United States Attorney, deposes and

states as follows:

      1.      I am the Assistant United States Attorney assigned to represent

the government in United States v. Devon Freeman, Appeal No. 23-3186.

Currently, the government’s opening brief is due January 8, 2024. This

affidavit is submitted in support of a request that this Court stay this appeal

pending a decision in United States v. Glen Prince, Appeal No. 23-3155.

      2.      On March 21, 2023, a grand jury returned an indictment against

defendant Devon Freeman charging him with one count of unlawful possession

of ammunition, in violation of 18 U.S.C. § 922(g)(1). On November 7, 2023, the

district court granted Freeman’s motion to dismiss the indictment, holding

that § 922(g)(1) is facially unconstitutional under the Second Amendment in

light of New York Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022).

      3.      Five days before granting Freeman’s motion to dismiss, the same

district court granted defendant Glen Prince’s motion to dismiss. In both

matters, the district court employed the same reasoning to reach the same



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conclusion regarding the constitutionality of § 922(g)(1). The government’s

appeal in both Prince and Freeman will raise only one issue: whether the

district court properly concluded that § 922(g)(1) is unconstitutional under the

Second Amendment. A decision in Prince almost certainly will resolve the

instant appeal in its entirety. As a result, this Court could stay briefing in the

instant appeal to avoid expending judicial resources to address duplicative

claims.1

      4.      Freeman was released from federal custody on November 8, 2023,

following the indictment’s dismissal. The government understands that after

Freeman was released from federal custody, he was arrested pursuant to a

state warrant and remains detained in state custody on state charges. The

government believes that Freeman will not be prejudiced by a stay of this

appeal pending a decision in Prince given the dispositive effect that a decision

in Prince almost certainly will have on Freeman’s appeal.



1 The same district court applied the same reasoning to reach the same conclusion in

five other matters, in which the government also has filed notices of appeal. See
United States v. Kevin Delaney, No. 23-3156; United States v. Malik Daniel, No. 23-
3173; United States v. Christopher Salme-Negrete, No. 23-3212; United States v.
Johnny Anderson, No. 23-3217; and United States v. Jose Diaz, No. 23-3259. The
government has filed an unopposed motion to stay the appeal in the Delaney matter
pending a decision by this Court in Prince; it soon will file similar (unopposed)
motions in the Daniel, Salme-Negrete, Anderson, and Diaz matters as well. In Prince,
the government’s opening brief is due on February 2, 2024.

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     5.      Counsel for Freeman does not oppose this motion.

     6.      Oral argument has not been scheduled, and this motion is not

brought for the purpose of delay. If granted, the parties propose filing

statements of position within seven days of a decision in Prince, or within

whatever timeframe this Court orders.

                                    s/ Georgia N. Alexakis
                                    GEORGIA N. ALEXAKIS
                                    Assistant United States Attorney




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                        CERTIFICATE OF SERVICE

      I hereby certify that on December 12, 2023, I electronically filed the

foregoing GOVERNMENT’S UNOPPOSED MOTION TO STAY APPEAL with

the Clerk of the Court for the United States Court of Appeals for the Seventh

Circuit by using the CM/ECF system. I certify that all participants in the case

are registered CM/ECF users and that service will be accomplished by the

CM/ECF system.

                                    s/ Georgia N. Alexakis
                                    GEORGIA N. ALEXAKIS
                                    Assistant United States Attorney
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